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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UNITED STATES OF AMERICA                    )
                                            )
                v.                          )
                                            )       Case No. 21-CR-223-LY
MATTHEW NELSON TUNSTALL,                    )
                                            )
                Defendant.                  )
                                             )


                           FACTUAL BASIS FOR PLEA OF GUILT

         The United States of America, by and through the United States Department of Justice,

Criminal Division, Public Integrity Section, and the defendant, Matthew Nelson Tunstall

("TUNSTALL"), ?ersonally and through his undersigned counsel, hereby stipulate to the

following statement of facts. TUNSTALL hereby affirms that if this matter were to proceed to

trial, the United States could prove the following facts beyond a reasonable doubt:

   I.         Back2round

         1.     Between at least January 2016 through at least April 2017, TUNSTALL conspired

with ROBERT REYES JR. ("REYES") and KYLE GEORGE DAVIES ("DAVIES") to establish

and operate several political action committees ("PACs") within the Western District of Texas and

elsewhere. During the same timeframe, TUNSTALL owned and operated a number of business

ventures, including Supreme Dream Media LLC ("Supreme Dream") and Matte Media Creations

Inc. ("Matte Media"). REYES also owned and operated a number of business ventures, including

Modern Media Group, LLC ("Modem Media").

         2.      TUNSTALL and REYES founded Liberty Action Group Political Action

Committee ("Liberty Action Group") and Progressive Priorities Political Action Committee
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("Progressive Priorities") and, along with other co-conspirators, used these PACs to obtain

contributions from unwitting donors based on false and misleading representations, then laundered

the proceeds of the scheme.

       3.      TUNSTALL and REYES were the principals responsible for the overall

managerial oversight of Liberty Action Group and Progressive Priorities and exercised ultimate

decision-making authority over the individuals recruited to work for each PAC. TUNSTALL

recruited DAVIES, ais cousin, to participate in the PACs' activities.

       4.      Individual 1 was a friend of DAVIES.

       5.      Individual 2 was DAVIES' girlfriend.

       6.      Individual 3 was an associate of DAVIES.

       7.      Individual 4 was a relative of REYES.

       8.      Individual 5 was a certified public accountant who was hired by REYES, at

TUNSTALL's direction, to conduct certain regulatory filing activities on behalf of both entities.

Individual 5's responsibilities included receiving financial statements from REYES regarding

Liberty Action Group's and Progressive Priorities' fundraising activities; separating the financial

transactions outlined in those statements by receipts or disbursements; entering those activities

into a format compliant with the reporting systems of the Federal Election Commission ("FEC");

and filing reports for Liberty Action Group and Progressive Priorities with the FEC as required by

law and regulation.

       9.      Company A was a communications company that provided a platform for Liberty

Action Group and Progressive Priorities to disseminate telephone calls that used a computerized

autodialer to deliver a pre-recorded message, often referred to as "robocalls."

       10.     Candidate 1 was the Political Party A candidate for the Office of the President of


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the United States in the 2016 federal election cycle.

          11.     Candidate 2 was the Political Party B candidate for the Office of the President of

the United States in the 2016 federal election cycle.

          12.     Liberty Action Group was a political action committee that claimed to raise

political contributions to support the election of Candidate 1 in 2016 and to support the Political

Party A agenda after Candidate l's election. On or about January 13, 2016, TUNSTALL, REYES,

and DAVIES opened or caused to be opened Account -8156 for Liberty Action Group at Financial

Institution A in the Western District of Texas.

          13.     Progressive Priorities was a political action committee that claimed to raise political

contributions to support the election of Candidate 2 in 2016 and to support the Political Party B

agenda after Candidate 2's defeat. On or about May 9, 2016, TUNSTALL, REYES, and DAVIES

opened or caused tc be opened Account -8111 for Progressive Priorities at Financial Institution B

in the Western Dis:rict of Texas. On or about December 8, 2016, TUNSTALL, REYES, and

DAVIES opened or caused to be opened Account -6823 under the name Progressive Properties

LLC at Financial Institution A, which they used to conduct the activities of Progressive Priorities.

          14.      American Priority Political Action Committee ("American Priority") was a

political action committee that claimed to raise political contributions to support Political Party A.

In and around 2016, REYES founded American Priority under TUNSTALL' s guidance.

    II.         The Fraud and False Statements Scheme

          15.      In and around 2016, TUNSTALL and REYES created Liberty Action Group and

Progressive Priorities to obtain money based on false and misleading representations about the

PACs' activities arl spending. Specifically, through robocall solicitations, written solicitations,

radio and television advertisements, and other means, Liberty Action Group and Progressive


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Priorities falsely represented to donors that all of their donated funds would be used to support

candidates for the Office of the President of the United States.

       16.     In total, Liberty Action Group received approximately $3.11 million in

contributions into Account -8156 at Financial Institution A. Progressive Priorities received

approximately $400,426 in contributions into Account -8111 at Financial Institution B, and

approximately $456,387 in contributions into Account -6823 at Financial Institution A.

       17.     TUNSTALL and REYES used some of the funds acquired through the scheme to

enrich themselves directly, to support their independent, unrelated business ventures, and to pay

for additional solicitations for money on behalf of Liberty Action Group and Progressive Priorities.

These transfers included, but were not limited to, the below:

               i.      Transfer of approximately $57,000 from Liberty Action Group PAC,

                       Financial Institution A Account -8156, to Modern Media on or about,

                       December 23, 2017;

                       Transfer of approximately $50,000 from Liberty Action Group PAC,

                       Financial Institution A Account -8156, to TUNSTALL via Matte Media on

                       or about December 27, 2016; and

                       Transfer of approximately $2,000 from Liberty Action Group PAC,

                       Financial Institution A Account -8156, to DAVIES on or about March 3,

                       2017.

        18.     Each of the transfers enumerated in paragraph 17 were completed using the

transmission of writings by means of wire communications in interstate commerce.




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       19.       During the operation of Liberty Action Group and Progressive Priorities,

TUNSTALL and InYES caused the PACs to file reports containing materially false statements

and representations with the FEC, an agency within the jurisdiction of the executive branch.

       20.       During the operation of Liberty Action Group and Progressive Priorities,

TUNSTALL, REYES, and DAVIES used the names of others without their knowledge or

permission and forged names on filings to the FEC and on other documents relating to the PACs

to conceal and disguise their role in the fraudulent scheme.

       21.       TUNSTALL and REYES knowingly and intentionally overpaid and relied on

refunds from these payments to Company A to launder the proceeds from their fraudulent activities

in order to disguise and conceal from the FEC, the public, and donors the nature, source, and

ownership of the proceeds of the money they made from contributions to Liberty Action Group

and Progressive Priorities that they took for personal gain.

    A. Fraud and False Statements through Liberty Action Group

             .   Filirgs with the FEC

        22.      In and around January 2016, DAVIES, at TUNSTALL's request, recruited

Individual 1 to be the nominal director of Liberty Action Group.

        23.      On or about January 13, 2016, TUNSTALL and REYES caused Liberty Action

Group to be registered with the FEC by filing a Statement of Organization. The Statement of

Organization identified Individual 1 as PAC Director and Individual 5 as Treasurer. Although

Individual 1 was listed as the PAC Director, Individual 1 had no decision-making authority with

respect to the PAC. Rather, TUNSTALL and REYES were responsible for all decisions and

retained supervisory control of the PAC's activities.




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       24.      Between on or about January 13, 2016 and on or about July 31, 2017, TUNSTALL

and REYES caused Liberty Action Group to file reports with the FEC. These reports contained

materially false statements and representations.     For example, on or about June 26, 2017,

TUNSTALL and REYES caused Liberty Action Group to falsely report to the FEC a

disbursement in the amount of $30,000 to Company A for "Advertising" on June 21, 2016, when

in fact, that same day, Company A transferred $30,000 to TUNSTALL' s and REYES ' s companies,

Modern Media and Supreme Dream.

         ii.    Misrepresentations to Potential "Contributors"

       25.      TUNSTALL, REYES, and DAVIES caused Liberty Action Group PAC to use

Company A's robocalling platform to solicit money from the public through false and misleading

representations, including:

               i.      [Voice of Candidate    I'm [Candidate 1]. [Candidate 2] will release violent

                       criminals from jail and put innocent Americans at risk. I'm going to put

                       criminals behind bars and guarantee that law-abiding Americans have the

                       right to self-defense. [Voice of Announcer]: Your fight to help defeat

                       [Candidate 2] and elect [Candidate 1] starts right now. Why? [Candidate 1]

                       is no longer self-funding and we now need you and millions opposed to

                       [Candidate 2] to invest generously to help elect [Candidate 1] for president.

                       Do your part to make an emergency investment to the campaign by pressing

                       one now. For contributing $25 or more, we'll give you a free [Candidate 1]

                       2016 campaign sticker. Or if you find yourself generously able to give

                       $1,000 or more, we'll send you out an exclusive signed photo of [Candidate

                       1], suitable for framing. So please press 1 right now to make an emergency


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            investment in the campaign to elect [Candidate 1] for president. Again,

            please press 1 to make an emergency contribution right now.              To

            unsubscribe, press 9 or call 800-335-6955.

            [Voice of Candidate 1]: I'm asking you to join me in this next chapter of

            this unbelievable and unprecedented movement as we work towards

            prosperity at home, peace abroad, and new frontiers in science, technology,

            and space.     [Voice of Announcer]: With less than two days before

            [Candidate 1] is sworn into office, [Candidate 1] and the [Candidate 1] team

            need your urgent support to finalize preparations on our 100-day plan to

            build a wall, repeal Obamacare, and rebuild our infrastructure. To do this,

            [Candidate 1] needs your help to help fund [Political Party A] by raising the

            remaining $4.5 million needed to make sure [Political Party A] is well-

            funded enough to take on bitter [Political Party B] who will stop at nothing

            to block anything [Candidate 1]. That is why we must ask you for a

            generous investment to help [Candidate 1] help fund [Political Party A].

            For your generous support, we'll send you a free [Candidate 1] sticker as a

            way of saying thank you. So please press 1 to donate to help [Candidate 1]

            to help [Political Party A]. Again, press 1 to donate now. Press 9 to

            unsubscribe.

             [Voice of Candidate 1]: I'm [Candidate 1]. We can come back bigger and

            better and stronger than ever before. [Voice of Announcer]: [Candidate 1]

             needs your urgent support to come back big against crooked [Candidate 2].

             To do this, we must hit our emergency fundraising goal before the FEC


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                      deadline. Can we count on you to help make a contribution of your own?

                      [Candidate 1] is going to win because of people like you contributing

                      whatever you can to tear down the corrupt establishment. So please, press

                      1 to contribute to help us crush our ten million dollar fundraising goal before

                      the FEC end-of-the-month deadline. Again, press 1 to make an emergency

                      contribution to help elect [Candidate 1]. Press 9 to unsubscribe.

       26.     TUNSTALL, REYES, and DAVIES edited and approved the scripts used by live

call center operators when individuals who received Liberty Action Group's robocalls agreed to

contribute or individuals called into the telephone number provided in radio advertisements

disseminated by Liberty Action Group. These scripts occasionally used false and misleading

representations. For example, a call center script stated that "100% of your contribution goes to

helping to elect [Candidate 1]."

       27.     TUNSTALL, REYES, and DAVIES also caused Liberty Action Group to solicit

money online through its website, created by TUNSTALL and REYES, which falsely described

Liberty Action Group as "a federal political committee that makes contributions to federal and

state candidates and committees."

       28.     TUNSTALL and REYES supervised and directed the activities of DAVIES, who

placed telephone calls to solicit money through false and misleading representations, including,

among other representations, that the money was "for the [Candidate 1] administration."

    B. Fraud and False Statements through Progressive Priorities

          i.   Filings with the FEC

        29.    In and around May 2016, DAVIES, at TUNSTALL's direction, recruited

Individual 2 to be the nominal head of Progressive Priorities.


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       30.    On or about May 11, 2016, TUNSTALL and REYES caused Progressive Priorities

to register with the FEC by filing a Statement of Organization. Progressive Priorities identified

Individual 2 as the PAC Director and Individual 5 as the Treasurer. Although Individual 2 was

identified as the PAC Director, Individual 2 had no decision-making authority with respect to

Progressive Priorities. Rather, TUNSTALL and REYES were responsible for all decisions and

retained supervisory control of the PAC's activities. REYES provided Individual 5 with Individual

2's information, which Individual 5 included in official reports filed with the FEC.

       31.     In and around November 2016, DAVIES, at TUNSTALL's request, recruited

Individual 3 to be the nominal head of Progressive Priorities PAC. Individual 3 was later identified

as the PAC Director in filings with the FEC, without Individual 3's knowledge of or actual

participation in the role. Rather, TUNSTALL and REYES continued to be responsible for all

decisions and retained supervisory control of the PAC's activities. REYES provided Individual 5

with Individual 3's information, which Individual 5 included in official reports filed with the FEC.

        32.        Between on or about May 11, 2016 and on or about August 15, 2019,

TUNSTALL and REYES caused Progressive Priorities to file reports with the FEC. These reports

contained materially false statements and representations, including:

              i.        On or about October 13, 2016, TUNSTALL and REYES caused

                        Progressive Priorities to falsely report to the FEC a disbursement of $40,000

                        to Company A for "Advertising" on July 18, 2016, when in fact, the next

                        day, July 19, 2016, Company A transferred $40,000 to TUNSTALL and

                        REYES' companies, Supreme Dream and Modern Media.

                        On or about May 1, 2017, TUNSTALL and REYES caused Progressive

                        Priorities to file a Form 3X with the FEC reporting no activity in the first
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                        quarter of 2017, when in fact, Progressive Priorities received approximately

                        $404,065 in contributions during that time period.

                        On or about July 31, 2017, TUNSTALL and REYES caused Progressive

                        Priorities to file a Form 3X with the FEC reporting no activity in the second

                        quarter of 2017, when in fact, Progressive Priorities received approximately

                        $52,231 in contributions during that time period.

               Misrepresentations to Potential "Contributors"

       33.     TUNSTALL, REYES, and DAVIES caused Progressive Priorities PAC to use

Company A's platform to solicit money from the public through false and misleading

representations, including:

              i.        [Voice of Candidate 2]: Like any family, our American family is strongest

                        when we cherish what we have in common and fight back against those who

                        would drive us apart. [Voice of Announcer]: Have [Candidate 21's back

                         against [Candidate 1] today by investing generously to help elect [Candidate

                         2] as the first female president in U.S. history. Do your part to make an

                         emergency investment to the campaign by pressing 1 now. For contributing

                         $25 or more, we'll give you a free [Candidate 2] 2016 sticker or, if you

                         generously find yourself able to give $1,000 or more, we'll send you out an

                         exclusive signed photo of [Candidate 21 herself, suitable for framing. So

                         please, press 1 right now to make an emergency investment in the campaign

                         to elect [Candidate 2] for President. Again, please press 1 to make an

                         emergency contribution right now. To unsubscribe, press 8.

        34.        TUNSTALL, REYES, and DAVIES provided the scripts used by live call center


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operators when individuals who received Progressive Priorities robocalls agreed to contribute.

These scripts also used false and misleading representations. For example, a script used by call

center operators stated: "Thank you so much for supporting our efforts to ensure [Candidate 2]

wins the presidency. I think you know what the alternative is if she doesn't get in. We'll work

hard to make sure she does."

       35.        TUNSTALL, REYES, and DAVIES also caused Progressive Priorities to solicit

money online through its website, created by TUNSTALL and REYES, which falsely described

Progressive Priorities as "a federal political committee that makes contributions to federal and

state candidates and committees."

   III.         Laundering of PAC Funds Through Company A

          36.      Between on or about June 16, 2016 and on or about April 12, 2017, TUNSTALL

and REYES overpaid Company A with contributions obtained by the Liberty Action Group and

Progressive Priorities PACs and then arranged for Company A to wire the excess funds to bank

accounts held by Supreme Dream and Matte Media, both companies owned or controlled by

TUNSTALL, and Modern Media, a company owned or controlled by REYES. In total, Company

A wired approximately $353,000 to these accounts controlled by TUNSTALL and REYES

through approximately 22 separate transactions, including the transactions described below.

          37.      On or about January 30, 2017, TUNSTALL sent an email, with the subject "ach

request on Dan Democrat Data," instructing Company A to "please ach $50,000 from Progressive

Priority PAC . . . and send $25,000 to: Matte Media. . . and send $25,000 to: . . . MODERN

MEDIA."

          38.      On or about February 6, 2017, TUNSTALL, copying a representative from

Company A, sent an email to REYES, writing "Rob, can you print and have director fill out."


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Attached to the email was a Company A Credit/Debit Authorization Form. Later that day, REYES

responded to TUNSTALL alone: "Is this to get our funds from PPP? Do I sign as [Individual 1]

with LAG bank information?" Seven minutes later, REYES sent a copy of the Company A

Credit/Debit Authorization Form that purported to bear Individual l's signature to TUNSTALL

and the representative from Company A, with the message, "Is this what you're looking for?"

       39.     On or about February 6, 2017, TUNSTALL responded to REYES, "No it's

progressive not lag, rob refill out with progressive info."

       40.     The following day, on or about February 7, 2017, REYES sent a scanned copy of

the Company A Credit/Debit Authorization Form, purportedly bearing Individual 3's signature, to

TUNSTALL and the representative from Company A.

       41.     On or about February 7, 2017, TUNSTALL sent an email, with the subject

"Urgent-- ACH Request (Existing, Please Finalize Today)," instructing Company A to "[p]lease

finalize sending the $50k that was pulled by sending $25,000 to: Matte Media. . . and sending

$25,000 to: . . . MODERN MEDIA."

        42.    On or about February 7, 2017, Company A transferred approximately $25,000 to

Modern Media.       The funds deposited in Modern Media's bank account were derived by

TUNSTALL and REYES through fraudulent means in furtherance of their scheme to defraud and

obtain money through the operations of Liberty Action Group and Progressive Priorities.

        43.     On or about February 7, 2017, Company A transferred approximately $25,000 to

Matte Media. The funds deposited in Matte Media's bank account were derived by TUNSTALL

and REYES through fraudulent means in furtherance of their scheme to defraud and obtain money

through the operations of Liberty Action Group and Progressive Priorities.

        44.     The transactions described in paragraphs 42 and 43 were designed in whole or in


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part to conceal or disguise the nature, source, ownership, and control of the proceeds of the

unlawful scheme.

       45.    The transactions described in paragraphs 42 and 43 affected interstate commerce

involving the movement of funds by wire or other means.




DATED: 12 /02 /2022                                DATED:

FOR THE DEFENDANT:                                 FOR THE UNITED STATES:


Matthew Nelson Tunstall                            COREY R. AMUNDSON
Defendant                                          Chief ublic Integrity Secti n
                                                   U.S. partmen oj Jus

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